Case 4:15-cV-OO455-TCK-.]F.] Document 2 Filed in USDC ND/OK on 08/14/15 Page 1 of 38

s. ’

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IN THE UNITED STATES DISTRIC`T COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

(l) KEV]N L. JETER, Individually;

(2) JOE A. JETER, Individually;

(3) BARBARA LUCAS, Individually;

(4) JAMES H. MILLER, lndividually;

(5) SHARON RIGSBY MILLER, Individually;
(6) LARRY SMITH, lndividually;

(7) JANICE SUE PARKER, Individually;

(8) JAMES D. ENLOE, Individually;

(9) CAROLYN R. ENLOE, Individually;

(10) SCOTT BAILY, lndividually; and

(l 1) as Class Representative(s) on Behalf of All
Similarly-Situated Persons,

Case No.

15cv -455JED -mv

V.

(1) CEP MID-CONTINENT L.L.C.,

(2) ROBERT M. KANE, lndividually,

(3) LOUISE KANE ROARK, lndividually,
(4) ANN KANE SEIDMAN, lndividually,
(5) MARK KANE, lndividually,

(6) PAMELA BROWN, lndividually, and
(7) GARY BROWN, lndividually,

.]URY TRIAL DEMANDED.

Defendants. ATTORNEYS’ LIEN CLAIMED.

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Plaintiffs, )
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COMPLA]NT

Plaintiffs, lndividually, KEVIN L. JETER, JOE A. JETER, BARBARA LUCAS, JAMES

H. MILLER, SHARON RIGSBY MILLER, LARRY SMITH, JANICE SUE PARKER, JAMES D.
ENLOE, CAROLYN R. ENLOE and SCOTT BAILEY and as Class Representatives -on behalf of
all similarly-situated Persons (“the Class”), hereby submit their individual claims, as well as the

claims held by all members of the Class, against Defendants, upon the following grounds and for

the following reasons:

Case 4:15-cV-OO455-TCK-.]F.] Document 2 Filed in USDC ND/OK on 08/14/15 Page 2 of 38

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1. Plaintiffs KEVlN L. JETER, JOE A. JETER, BARBARA LUCAS, JAMES I-I.
MILLER, SHARON RIGSBY MILLER, and SCOTT BAILEY are citizens of the State of
Oklahoma who have owned and/or currently own mineral interests in land that is located within this
Judicial District.

2. Plaintiff, LARRY SMITH, is a natural person, and a citizen of the State of Kansas.
Mr. Smith owns a residence in Coffeyville, Kansas.

3. Plaintiff JAN[CE SUE PARKER is a natural person, and a citizen of the State of
Louisiana. Ms. Parker owns a residence in Hornbeck, Louisiana.

4. Plaintiffs JAMES D. ENLOE and CAROLYN R. ENLOE are citizens of the State
of Kansas who currently own mineral interests in land that is located within this Judicial District.

5. KRS&K is and at all pertinent times was a general partnership organized and existing
under the laws of the State of Oklahoma. The partnership is comprised of Robert Kane, Louise
Rourke , Ann Siedman, and Mark Kane; two brothers and two sisters. KRS&K owns a fifty percent
interest in Bullseye Energy, lnc., Bullseye Operating, LLC., Gashoma, Inc, Purgatory Creek Gas,
lnc., White Hawk Gas, Inc, Wild West Gas, L.L.C., and New Cotton Valley Gas Transmission LLC.

6. Defendant CEP Mid-Continent LLC., is and at all pertinent times was a Delaware
limited liability company organized and existing under the laws of the State ofDelaware. CEP Mid-
Continent, through assignment, as lessee, owns a fifty (50) percent interest in the leases of the
Plaintiffs and the prospective class members that is the subject of this case.

7 . Bullseye Energy, Inc. is and at all pertinent times was an Oklahoma corporation
organized and existing under the laws of the State of Oklahoma. Bullseyee Energy, Inc. owns a fifty

(5 0) percent interest in the leases of the Plaintiffs, as lessee, and the prospective class members that

2

Case 4:15-cV-OO455-TCK-.]F.] Document 2 Filed in USDC ND/OK on 08/14/15 Page 3 of 38

is the subject of this case.

8. Gashoma, lnc. is and at all pertinent times was an Oklahoma corporation organized
and existing under the laws of the State of Oklahoma. Gashoma, lnc. is a company provides services
for the gathering of natural gas from the leases of the Plaintiffs and the prospective class members
that is the subject of this case.

9. Purgatory Creek Gas, lnc. is and at all pertinent times was an Oklahoma corporation
organized and existing under the laws of the State of Oklahoma. Purgatory Creek Gas, lnc. is a
company provides services for the gathering of natural gas from the leases of the Plaintiffs and the
prospective class members that is the subject of this case.

10. White Hawk Gas, lnc. is and at all pertinent times was an Oklahoma corporation
organized and existing under the laws of the State of Oklahoma. White Hawk Gas, Inc. is a company
provides services for the gathering of natural gas from the leases of the Plaintifl`s and the prospective
class members that is the subject of this case.

l l. Wild West Gas, L.L.C. is and at all pertinent times was an Oklahoma limited liability
company organized and existing under the laws of the State of Oklahoma. Wild West Gas, L.L.C.
was formerly known as Wild West Gas, lnc. Wild West Gas, L.L.C. is a company provides services
for the gathering of natural gas from the leases of the Plaintiffs and the prospective class members
that is the subject of this case.

12. Defendant Robert M. Kane is a natural person, and a citizen of the State of
Oklahoma. Mr. Robert M. Kane serves as President of Bullseye Energy, Inc., Gashoma, lnc.
Purgatory Creek Gas, lnc. and serves as the managing partner for White Hawk Gas, LLC, Wild West
Gas, LLC, Bullseye Operating, LLC, and New Cotton Valley Gas Transmission LLC.

13. Defendant Louise Rourke is a natural person, and a citizen of the State ofOklahoma.

3

Case 4:15-cV-OO455-TCK-.]F.] Document 2 Filed in USDC ND/OK on 08/14/15 Page 4 of 38

Louise Rourke owns a twenty-five percent interest in KRS&K and owns an interest in Bullseye
Energy, Inc., Bullseye Operating, LLC, Gashoma, Purgatory Creek Gas, lnc., White Hawk Gas,
Wild West Gas, LLC, and New Cotton Valley Gas Transmission LLC.

14. Defendant Ann Siedman is a natural person, and a citizen of the State of
Pennsylvania. Ann Siedman owns a twenty-five percent interest in KRS&K and owns an interest
in Bullseye Energy, lnc., Bullseye Operating, LLC, Gashoma, lnc., Purgatory Creek Gas, Inc.,
White Hawk Gas, LLC, Wild West Gas, LLC, and New Cotton Valley Gas Transmission LLC.

15. Defendant Mark Kane is a natural person, and a citizen of the State of Oklahoma.
Mark Kane owns a twenty-five percent interest in KRS&K and owns an interest in Bullseye Energy,
lnc., Bullseye Operating, LLC, Gashoma, Purgatory Creek Gas, Inc., White Hawk Gas LLC, Wild
West Gas, LLC, and New Cotton Valley Gas Transmission LLC.

16. Defendant Pamela Brown is a natural person, and a citizen of the State ofOklahoma.
Pamela Brown is the wife of Defendant Gary Brown. Pamela Brown is upon information and belief
an employee of Bullseye Energy, lnc. and Bullseye Operating, LLC, and does work for Gashoma,
lnc., Purgatory Creek Gas, Inc., White Hawk Gas LLC, Wild West Gas, LLC, and New Cotton
Valley Gas Transmission LLC. Pamela Brown markets the gas produced from the Plaintiff’s and
prospective class member’s leases to the end purchasers Pamela Brown, upon information and
belief, is the compliance officer for New Cotton Valley Gas Transmission LLC and was formerly
the compliance officer for Cotton Valley Compression LLC.

17. Defendant Gary Brown is a natural person, and a citizen of the State of Oklahoma.
Gary Brown is the husband of Pamela Brown. Gary Brown is an employee of Bullseye Energy, lnc.
and Bullseye Operating, LLC, and performs work and services, at the direction of Robert Kane, for
Gashoma, Inc., Purgatory Creek Gas, lnc., White Hawk Gas, LLC, Wild West Gas, LLC, and New

4

Case 4:15-cV-OO455-TCK-.]F.] Document 2 Filed in USDC ND/OK on 08/14/15 Page 5 of 38

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Cotton Valley Gas Transmission LLC.

18. The events giving rise to the entitlement of Plaintiffs (and the Class) to receive
royalty payments from the Leases and the Wells (based on the proceeds of the sale of the
Production) occurred, at least in substantial part, within this J udicial District. The omissions to pay
the full and required amounts of royalty payments to Plaintiffs (and members of the Class) occurred,
at least in substantial part, within this J udicial District. The concealment of the underpayment of
royalties to Plaintiffs (and the Class) occurred, at least in substantial part, within this Judicial
District.

19. Plaintiffs, individually and as Class Representatives, assert claims against
Defendants Robert Kane, Louise Rourke, Ann Siedman, Mark Kane, Pamela Brown, Gary Brown
and CEP Mid-Continenet, L.L.C. that are founded upon federal question subject matter jurisdiction
under 28 U.S.C. §1331 and the Racketeer Influenced and Corrupt Organiza`tions Act, 18 U.S.C.
§1962.

20. Venue, for the Civil RICO claims, is appropriate in this court because the location
of the predicate acts, enterprise, and spoils are all here within the Northern District of Oklahoma.

21. As set forth in more detail below, the class-definition limits the members of the
proposed Class in the aggregate to individuals and entities who, as of the date of the commencement
of the instant action, have owned or currently own mineral interests in land that is located within the
geographical boundaries of the United States Judicial District known as the Northern District of
Oklahoma.

22. As set forth in more detail below, Plaintiffs bring this lawsuit on behalf of themselves
and all others similarly situated pursuant to the Racketeering Influenced and Corrupt Organizations
Act (“RICO”), under, 18 U.S.C. §1962(c) and 18 U.S.C. § l962(d). In regard to Civil RICO, federal

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Case 4:15-cV-OO455-TCK-.]F.] Document 2 Filed in USDC ND/OK on 08/14/15 Page 6 of 38

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subject matterjurisdiction arises from claims asserted herein, pursuant to 18 U.S.C. §1964 and 28
U.S.C. §1331. Also, venue is proper in this federal judicial district, in accordance with, 18 U.S.C.
§1965(a), which provides for venue in any federal district in which a RICO defendant transacts his
affairs, and 28 U.S.C. § 1391(b), in that a substantial part of the events giving rise to Plaintiffs’
claims occurred in this federal judicial district

23. The number of Class members exceeds One Hundred (100), in that hundreds of
mineral owners and hundreds of producing wells are the subjects of the instant action, and the
number of royalty owners who constitute the Class is so numerous that joinder of each as a separate
plaintiff would be impracticable Accordingly, Plaintiffs sue both on their own behalf and on behalf
of, and for the benefit of, all other royalty owners who have had or currently have leases in this
judicial district

24. This Court’s exercise of personal jurisdiction over the Defendants is justified and
authorized under the Oklahoma “long`-arm jurisdiction” statute, and comports with the Due Process
Clause of the Fifth Amendment of the Constitution of the United States.

25. Bullseye Energy, KRS&K and CEP Mid-Continent have been and continue to be
engaged actively in acquiring, developing, operating, and producing oil and natural gas properties
within this Judicial District. Plaintiff`s and the Class have owned or currently own oil, gas, and
mineral interests in lands and producing Wells that have been drilled on land that is located within
this J udicial District (“the Lands). The oil, gas, and mineral interests that have been or are currently
owned by Plaintiffs and the Class in the Lands have been or currently are subject to oil and gas
leases pursuant to which wells were drilled and completed on the Lands (“the Leases”).

26. Bullseye Energy, KRS&K, Redbird, Gashoma, and CEP Mid-Continent, own or
owned, and/or control or controlled the Leases and/or working interests created by the Leases.

6

Case 4:15-cV-OO455-TCK-.]F.] Document 2 Filed in USDC ND/OK on 08/14/15 Page 7 of 38

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Bullseye Energy, KRS&K, Redbird, Gashoma, and CEP act or acted as, and/or control or controlled,
operators of the wells that were drilled pursuant to the Leases (“the Wells”). Wild West, White
Hawk, Purgatory, and New Cotton Valley Compression have gathered, produced, and sold (and
continue to gather, produce, and sell) natural gas and/or natural gas liquids from the Leases and from
the Wells (“the Production”).

FACTS SUPPORTING THE CLAllVIS
ASSERTED BY PLAINTIFFS AND THE CLASS

 

27. Plaintiffs restate, adopt, and incorporate by reference all allegations set forth in the
paragraphs above.

28. At all pertinent times, including the present time, the Bullseye Energy, KRS&K,
Redbird, Gashoma, and CEP Mid-Continent acted and/or continue to act as, or controlled and/or
control, the lessees and operators of the Leases and the Wells, and at all pertinent times Plaintiffs
and the Class have owned or currently own royalty interests in the Lands, the Leases, the Wells,
and/or the Production.

29. Bullseye Energy, KRS&K, Redbird, Gashoma, and CEP Mid-Continent have taken
and continue to take (and/or authorize/control) the taking of numerous unauthorized and unlawfiil
deductions from the royalties belonging to Plaintiffs and the Class. Wild West, White Hawk,
Purgatory, and New Cotton Valley Compression have created and continue to use various physical
assets, arrangements, and structures related to the processing and sale of the Production, and have
used and continue to use the same, as well as other means, to take deductions to which none of them
is entitled, in part by imposing, now and in the past, unlawful charges and unlawful deductions
against the royalties due to Plaintiffs and the Class in contractual violation of the Leases and in

violation of Oklahoma law.

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Case 4:15-cV-OO455-TCK-.]F.] Document 2 Filed in USDC ND/OK on 08/14/15 Page 8 of 38

30. Bullseye Energy, KRS&K, Redbird, Gashoma Wild West, White Hawk, Purgatory
and CEP Mid~Continent are underpaying the royalties belonging to Plaintiffs and the Class by
calculating the royalties through self-dealing sales to affiliated purchasers instead of calculating the
proper royalties owed to Plaintiffs and the Class based upon the sale of natural gas to the ultimate
end purchasers These entities are engaging in this self-dealing by selling natural gas to themselves,
through affiliated purchasers, at a reduced rate and paying the royalty owners based on this
fraudulent skimming scheme. Additionally, these entities may have underpaid royalties in other
ways not yet known to Plaintiffs and the Class.

31 . The accounting systems used to calculate and distribute royalty payments to Plaintiffs
(and the Class), upon information and belief, starting in 2000, do not make any adjustments for any
individual Leases, thus unlawful deductions and underpayment of royalties are occurring regardless
of the provisions of any particular Lease and in direct/explicit violation of the contractual terms of
certain Leases. This conduct has been and continues to be (i) a cause of unauthorized and unlawful
deductions being taken now and in the past from the royalties due to Plaintiffs and the Class under
certain Leases and Oklahoma law, and (ii) the unlawful and fraudulent payment of royalties that
were and are based on less than the true actual market price received for the sale of the Production,
(iii) the deductions taken were excessive, inflated, and/or not reasonable; and (iv) a cause of
concealment that has been and continues to be perpetrated against Plaintiffs and the Class.

32. Defendants have known and continue to know that the method and manner in which
royalties are calculated and paid to Plaintiffs (and the Class) were not (and are not) in accordance
with the contractual obligations to Plaintiffs (and the Class), including, without limitation, the
Defendants’ obligations established by the provisions of the Leases and the statutory obligations
imposed upon the Defendants by the laws of Oklahoma relating to full, fair, and timely payment of

8

Case 4:15-cV-OO455-TCK-.]F.] Document 2 Filed in USDC ND/OK on 08/14/15 Page 9 of 38

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royalty proceeds and relating to the Defendants’ implied duty to market and sell the Production.

CLASS ACTION REQU]REN[ENTS

33. Plaintiffs restate, adopt, and incorporate by reference all allegations set forth in the
paragraphs above.

34. Under the authority of Fed.R.Civ.P. 23, Plaintiffs bring, certain claims within this
action, as a class action and as the representatives of the Class. Plaintiffs will file a separate
motion(s), in accordance with the court’s future scheduling order, seeking an order that certifies a
class and/or certain sub-classes.

35. Plaintiffs seek the certification of a Class for their claims under the Racketeer
Influenced and Corrupt Organizations Act (RICO) comprised as follows:

All non-excluded persons and entities who, as of the date of filing of this Complaint,
are or were royalty owners in producing gas wells located in the Northern District
of Oklahoma Where one or more of the Defendants is or was a lessee and/or operator
and/or working-interest owner under the Leases, and/or where the Defendants
control or controlled the operators, working-interest owners, and/or lessees under the
Leases. The Class does not include overriding royalty owners or other owners who
derive their interest through the oil and gas lessee. The Class does not include any
wells located on federal, state, county, municipal, military, or indian lands in which
one or more Defendants own any interests

The persons or entities excluded from the Class are persons or entities who are not
citizens of any State on the date of filing this Complaint, persons or entities who
have settled or released their royalty-related claims with any of the Defendants as of
the date of filing of this Complaint, any Indian Tribe or Nation, federal, state and
local govemments, including agencies, departments, or instrumentalities of the
United States of America and State of Oklahoma (including public trusts, counties,
and municipalities), publicly traded oil and gas exploration companies and their
affiliates, and persons or entities that Plaintiffs’ counsel are prohibited from
representing under the Oklahoma Rules of Professional Conduct.

Other persons or entities excluded from the Class are persons or entities who have
entered into Leases with any of the Defendants which contain specialized contractual

Case 4:15-cV-OO455-TCK-.]F.] Document 2 Filed in USDC ND/OK on 08/14/15 Page 10 of 38

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provisions allowing Defendants to subtract expenses/costs from royalties.l

36. This Class (and/or, potentially Sub-Class(es)) are so numerous and meet the
numerosity requirement because Defendants have operated, or operate, and/or owned or own
working interests in and/or controlled or control sale of the Production from several hundred wells
in Oklahoma. The precise number of Leases, Wells, and Class members is within the exclusive
knowledge of these Defendants. This Class (and/or, potentially Sub-Class(es)) have more than 100
members, and the total number of members is so numerous that joinder of all members is
impracticable

37. Bullseye Energy and Defendant CEP Mid-Continent are the current and/or past
owners of the Leases, or controlled and/or control such owners, and operate and/or operated wells
drilled pursuant to the Leases, or controlled and/or control the operators of such wells. Wild West,
White Hawk, Purgatory (and New Cotton Valley Compression) have controlled and/or control the
gathering, processing, and/or sale of the Production.

38. The averments of fact and questions of law herein are common to the Class (and/or,
potentially Sub-Class(es)). The claims asserted by Plaintiffs are typical of the claims of` the Class
(and/or, potentially Sub~Class(es)) . The factual and legal issues in this action are of common and
general interest to all royalty owners whose producing gas wells are located within this Judicial
District and who were and are dependent upon and subject to the activity, including the wrongful
conduct, of the Defendants that is alleged in this Second Amended Complaint,

39. Plaintiffs and the Class (and/or, potentially Sub~Class(es)) are or were mineral

interest owners under the Leases. Plaintiffs’ claims are typical of the Class (and/or, potentially Sub-

 

Additionally, sub-classes may be proposed, particularly, for class members who have leases
allowing for deduction of costs and have been overcharged for these costs.

10

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Case 4:15-cV-OO455-TCK-.]F.] Document 2 Filed in USDC ND/OK on 08/14/15 Page 11 of 38

j

Class(es)) members’ claims relating to the Leases, the Wells, and the Production, and the
Defendants’ anticipated defenses to Plaintiffs’ claims are typical of the anticipated defenses that are
likely to be asserted by the Defendants in opposing the claims ofal] other Class (and/or, potentially
Sub-Class(es)) members

40. Plaintiffs will fairly and adequately protect the interests of the Class (and/or,
potentially Sub-Class(es)). Plaintiffs’ interests do not conflict with the interests of the Class (and/or,
potentially Sub-Class(es)). Plaintiffs are represented by counsel who are both skilled and
experienced in oil and gas accounting, complex civil securities litigation, Civil RICO litigation,
including, but not limited to, large and protracted class actions

41. The averments of fact and questions of law which are common to the members of the
Class (and/or, potentially Sub-Class(es)) predominate over any questions affecting only individual
members A class action is superior to other available methods for the fair and efficient adjudication
of this controversy. Certification of a Class (and/or, potentially Sub-Class(es)) is the superior
method for litigating the claims asserted in this action, because:

(1) The questions of law and fact are so uniform across the Class (and/or, potentially Sub-
Class(es)) that there is no reason why individual Class (and/or, potentially Sub-Class(es)) members

would want to control the prosecution of their own civil actions, at their own expense;

(2) The interests of all parties and the judiciary in resolving these matters in one forum
without the need for a multiplicity of actions are great and substantial;

(3) The difficulties in managing this class action will be slight in relation to the potential
benefits to be achieved on behalf of every Class (and/or, potentially Sub~Class(es)) member, and
not just those who can afford to bring their own actions;

(4) Many of the Class (and/or, potentially Sub-Class(es)) members may never discover that
the Defendants caused the under-payments made to them; and

(5) Class (and/or, potentially Sub-Class(es)) certification will promote orderly, efficient,
expeditious and appropriate adjudication and administration of class claims, to promote economies
of time and resources

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Case 4:15-cV-OO455-TCK-.]F.] Document 2 Filed in USDC ND/OK on 08/14/15 Page 12 of 38

42. Prosecuting separate actions brought by individual Class (and/or, potentially Sub-
Class(es)) would create a risk of ( 1) inconsistent or varying adjudications With respect to individual
Class members that would establish incompatible standards of conduct for the Defendants, and (2)
adjudications with respect to individual Class (and/or, potentially Sub-Class(es)) members that, as
a practical matter, would be dispositive of the interests of the other members who are not parties to
the individual adjudications or would substantially impair or impede their ability to protect their

interests
COUNT I

VIOLATION OF THE RACKETEER INFLUENCED

AND CORRUPT ORGANIZATION ACT (“RICO”)
(Against Individual Defendant Robert M. Kane)

A. Incorp_oration By Reference of Factual Allegations

43. Plaintiffs restate, adopt, and incorporate by reference all allegations set forth in the
paragraphs above.

B. Parties for Civil RICO Claim

44. Plaintiffs LARRY SMITH, JANICE SUE PARKER, JAMES D. ENLOE,
CAROLYN R. ENLOE, and SCOTT BAILEY are the parties plaintiff to this cause of action,

45. The Defendant named in this RICO claim is Robert M. Kane.

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46. The association-in-fact “enterprise”, for this cause of action, consisted of the entities
Wild West Gas, L.L.C., an Oklahoma limited liability company, White Hawk Gas, lnc., an
Oklahoma corporation, and Purgatory Creek Gas, lnc., an Oklahoma corporation, hereinafter “Wild
West-White Hawk-Purgatory”, the Civil RlCO Enterprise.

47. Defendant Robert M. Kane served, at all times material hereto, as the President of

12

Case 4:15-cV-OO455-TCK-.]F.] Document 2 Filed in USDC ND/OK on 08/14/15 Page 13 of 38

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White Hawk Gas, Inc. and Purgatory Creek Gas, Inc., both Oklahoma corporations And, Defendant
Robert M. Kane served, at all times material hereto, as the managing partner of Wild West Gas,
L.L.C., an Oklahoma limited liability company.

48. Defendant Robert M. Kane participated in the conduct of the alleged association-in-
fact enterprise, Wild West-White Hawk-Purgatory (the RICO Enterprise) engaged in, or whose
activities affect, interstate commerce

49. Defendant Robert M. Kane directly participated in the actual operation and/or
management of the unlawful affairs of the corrupt association-in-fact enterprise, Wi]dWest-
WhiteHawk-Purgatory.

50. Defendant Robert M. Kane participated in the fraudulent scheme, as alleged herein,
and also participated in the operation and/or management of “WildWest-WhiteHawk-Purgatory”,
the association-in-fact enterprise

D. Pattem of Racketeering Activity

51. Defendant Robert M. Kane (as the managing partner and principal owner/control
person of Wild West Gas, L.L.C.) committed numerous acts of mail fraud, indictable under 18
U.S.C. §1341, and wire fraud, indictable under 18 U.S.C. §1343, each of which constituted
“racketeering activity” within the meaning of 18 U.S.C. §l961(i), and all of which collectively
constituted part of a “pattem of racketeering activity” within the meaning of 18 U.S.C. §1961(5):

(A) Mail Fraud-18 U.S.C. §1341-Defendant Robert M. Kane, did devise a scheme or

artifice, to obtain property, by taking and/or authorizing the taking of numerous
unauthorized and unlawful deductions from royalties properly and lawfully
belonging to Plaintiffs, under certain leases This scheme to defraud occurred by

means of false and/or fraudulent pretenses, representations, or promises in that false

13

Case 4:15-cV-OO455-TCK-.]F.] Document 2 Filed in USDC ND/OK on 08/14/15 Page 14 of 38

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check stubs (showing zero or no deductions were taken fi'om the proceeds of the sale
of the natural gas) were deposited, sent, and/or delivered by the U.S. Postal Service
to the Plaintiffs, on a monthly basis, since 2000.

(B) Wire Fraud-18 U.S.C. §1343-Defendant Robert M. Kane, did devise a scheme or
artifice, to obtain property, by taking and/or authorizing the taking of numerous
unauthorized and unlawful deductions from the royalties properly and lawfully
belonging to Plaintiffs, under certain leases This scheme to defraud occurred by
means of false and/or fraudulent pretenses representations or promises in that false
check stubs, and other documentation, (showing zero or no deductions were taken
from the proceeds of the sale of the natural gas) were caused to be transmitted by
means of wire communication in interstate or foreign commerce, upon information
and belief, on occasion, to the Plaintiffs, on a monthly basis since 2000.

(C) As alleged herein, such false or fraudulent representations were made with the intent
to defraud Plaintiffs;

(D) Plaintiffs justifiably relied upon the false or fraudulent representations and promises
and was damaged as a result.

(E) Such injuries include, but are not necessarily limited to, the form of lost gas royalty
property, as a direct, proximate, and foreseeable result of the scheme alleged herein

52. Upon information and belief, in violation of 18 U.S.C. §1341 and §1343, Defendant

Robert M. Kane used the U.S. Mail, a private and/or commercial interstate carrier to receive (or wire
communications) to receive payments for natural gas sold and then transmit royalty payments, all
such mailings and wire communications being incident to and an essential part of the scheme to

defraud, and/or a step in the plot to defraud Plaintiffs and other victims

14

Case 4:15-cV-OO455-TCK-.]F.] Document 2 Filed in USDC ND/OK on 08/14/15 Page 15 of 38

g

53. Upon information and belief, in perpetuation of the scheme to defraud Plaintiffs and
other victims, Robert M. Kane, knowingly engaged or attempted to engage in multiple monetary
transactions involving criminally derived property in violation of 18 U.S.C. §1957 by depositing
payments received from purchasers of the natural gas, each in excess of 810,000.00, in a financial
institution, knowing that the payments were derived from the unlawful activities of wire fraud and/or
mail fi'aud, and which payments were, in fact, derived from unlawful activities of wire fraud and
mail fraud as alleged above.

54. The aforementioned actions constituted a pattern of racketeering activities affecting
interstate commerce and designed to harm multiple parties, including Plaintiffs, and were
effectuated by Defendant Robert M. Kane in violation of 18 U.S.C. §1962(c).

55. As a result of the RICO violations, Plaintiffs suffered outrage, and severe economic
damages plus attorney fees wrongfully sustained. j

5 6. Plaintiffs are “persons” injured in their property by reason of a violation of 18 U.S.C.
§1962 and may sue therefore in this Court and recover threefold the damages sustained and the costs
of this suit, including reasonable attorney’s fee pursuant to 18 U.S.C. §1964(c).

57. The racketeering activity of the Defendant Robert M. Kane, and his conspirators,
presents the potential to injure other potential persons or entities Plaintiffs are only several, of
hundreds of victims, in a continuing string of racketeering activity, a course of conduct which

threatens to injure future victims

E. Cause of Action Under 18 U.S.C. §1962(c }-Conducting the Affairs of the Entemrise

58. Plaintiffs allege that Defendant Robert M. Kane, violated l 8 U.S.C. §1962(0) which

provides, in pertinent part, “It shall be unlawful for any person employed by or associated with any
enterprise engaged in, or the activities of which affect, interstate . .commerce, to conduct or

15

Case 4:15-cV-OO455-TCK-.]F.] Document 2 Filed in USDC ND/OK on 08/14/15 Page 16 of 38

participate, directly or indirectly, in the conduct of such enterprise’s affairs through a pattern of
racketeering activity.”
59. Defendant Robert M. Kane served, at all times material hereto, was employed by
and/or associated with WildWest-WhiteHawk-Purgatory” the RICO association in fact “enterprise”.
60. Defendant Robert M. Kane conducted, participated, and/or managed (directly or
indirectly), in the conduct of such enterprise’s affairs through a pattern of racketeering activity as

alleged above

F. Cause of Action Under 18 U.S.C. §l962!d)-Conspiracy to Violate §1962(0}

61. Plaintiffs restate, adopt, and incorporate by reference all allegations set forth in the
paragraphs above

62. Plaintiffs allege that Defendant Robert M. Kane, violated 18 U.S.C. §l962(d) which
provides, in pertinent part, “It shall be unlawful for any person to conspire to violate any of the
provisions of subsection (a), (b), or (c) of this section.”

63. Defendant Robert M. Kane, conspired to violate the provision of 18 U.S.C. §1962(c)
by engaging in, and conspiring with other individuals, to participate in the pattern of racketeering
activity, for the purposes described in paragraphs above

G. Damages Arising from Violation of 18 U.S.C. §1962

64. By the acts and conduct of the Defendant Robert M. Kane, in violating the provisions
of 18 U.S.C. §1962, as alleged herein, inclusive, Plaintiffs have collectively suffered economic loss
in the form of lost gas royalty income, in an amount to be determined at trial, but exceeds, upon
information and belief, $41,092.27 Dollars.

H. Civil RICO 19621c) Class Action Allegations

65. Plaintiffs LARRY SMITH, JANICE SUE PARKER, JAMES D. ENLOE, and

16

Case 4:15-cV-OO455-TCK-.]F.] Document 2 Filed in USDC ND/OK on 08/14/15 Page 17 of 38

CAROLYN R. ENLOE bring this action pursuant to Federal Rule of Civil Procedure Rule 23, on
behalf of the following class:

All non-excluded persons and entities who, as of the date of filing of this Complaint,
are or were royalty owners in producing gas wells located in the Northern District
of Oklahoma where one or more of the Defendants is or was a lessee and/or operator
and/or working-interest owner under the Leases, and/or where the Defendants
control or controlled the operators working-interest owners, and/or lessees under the
Leases The Class does not include overriding royalty owners or other owners who
derive their interest through the oil and gas lessee The Class does not include any
wells located on federal, state, county, municipal, military, or Indian lands in which
one or more Defendants own any interests The persons or entities excluded from the
Class are persons or entities who are not citizens of any State on the date of filing
this Complaint, persons or entities who have settled or released their royalty-related
claims with any of the Defendants as of the date of filing of this Complaint, any
Indian Tribe or Nation, federal, state and local governments including agencies,
departments or instrumentalities of the United States of America and State of
Oklahoma (including public trusts, counties, and municipalities), publicly traded oil
and gas exploration companies and their affiliates and persons or entities that
Plaintiffs’ counsel are prohibited from representing under the Oklahoma Rules of
Professional Conduct. Other persons or entities excluded from the Class are persons
or entities who have entered into Leases with any of the Defendants which contain
specialized contractual provisions allowing Defendants to subtract expenses/costs
from royalties

66. The Class is so numerous thatjoinder of all members is impracticable

67. The Class action is superior to all other available methods for the fair and efficient
adjudication of this controversy.

68. Plaintiffs claims are typical of the claims of the Class As alleged herein, Plaintiffs
and members of the Class all sustained damages arising out of the common course of unlawful
conduct.

69. There are questions of law and fact common to the Class, including but not limited
to:

-Whether the corrupt association-in-fact enterprise WildWest-WhiteHawk-Purgatory
engaged in a common scheme, plan and course of conduct to underpay the royalties belonging to

Plaintiffs and the Class by calculating the royalties through self-dealing sales to affiliated purchasers

17

Case 4:15-cV-OO455-TCK-.]F.] Document 2 Filed in USDC ND/OK on 08/14/15 Page 18 of 38

instead of calculating the proper royalties owed to Plaintiffs and the Class based upon the sale of
natural gas to the ultimate end purchasers?

-Whether the corrupt association-in-fact enterprise, WildWest-WhiteHawk-Purgatory
engaged in a common scheme, plan, and course, whereby deductions taken and continuing to be
taken include certain deductions and expenses, which were and are prohibited by certain Leases and
Oklahoma law?

-Whether the corrupt association-in-fact enterprise, WildWest-WhiteHawk-Purgatory
engaged in a common scheme, plan and course of conduct and continue to the present to deprive
Plaintiffs and the Class of full royalties arising from the true market sale of the Production?

-Whether the corrupt association-in-fact enterprise, WildWest-WhiteHawk-Purgatory
engaged in a common scheme, plan and course of to inflate gas gathering and transportation costs?

70. This Civil RICO Class Action count is warranted under Rule 23(b)(2) because
Defendants have acted on grounds generally applicable to the Class thereby making appropriate final
injunctive relief with respect to the Class as a whole

71. Class action status is also warranted under Rule 23(b)(3) because questions of law
or fact common to the members of the_Class predominate over any questions affecting only
individual members, and a class action is superior to other available methods for the fair and
efficient adjudication of this controversy.

PRAYER AS TO CIVIL RICO-COUNT I

WHEREFORE, Plaintiffs, individually, pray for entry of a judgment in their favor and
against the Defendant, Robert M. Kane, to include the following relief:

(a) Certification of Count l, as a class action, pursuant to Fed.R.Civ.P. 23(b)(2) and/or

23(b)(3), and appointment of suitable Plaintiff(s) as Class Representatives and
Plaintiffs’ counsel as Class Counsel. A separate motion seeking such certification
and appointment will be filed by Plaintiffs’ counsel, after Class discovery and in
accordance with the court’s scheduling order;

(b) An injunction to enjoin Robert M. Kane from any further racketeering acts;

(c) Ordering Robert M. Kane, to divest him of any interest (direct or indirect), in any
enterprise; imposing reasonable restrictions on the future activities of Robert M.

18

Case 4:15-cV-OO455-TCK-.]F.] Document 2 Filed in USDC ND/OK on 08/14/15 Page 19 of 38

Kane, including, but not limited to, prohibiting Robert M. Kane from engaging in the
same type of endeavor as the enterprise engaged in, the activities of which affect
interstate commerce; or ordering the dissolution or reorganization of any enterprise,
making clue provision for the rights of innocent persons;

(d) Awarding Plaintiffs Awarding Plaintiffs Larry Smith, Janice Sue Parker, J ames D.
Enloe, Carolyn R. Enloe and Scott Bailey collectively, economic loss in the form of
lost gas royalty property rights (i.e., royalties), to be proven and determined at trial,
an amount, upon information and belief, exceeding the sum of, $44,000.00 Dollars;

(e) Awarding Plaintiffs Larry Smith, Janice Sue Parker, James D. Enloe, Carolyn R.
Enloe and Scott Bailey collectively, treble damages, for the loss of property rights
(i.e., royalties) to be proven and determined, at trial, an amount, upon information
and belief, exceeding the sum of 8132,000.00, exclusive of interest and costs;

(f) Awarding Civil RICO Conspiracy Class Plaintiffs, individually, economic loss in the
form of property rights (i.e., royalties), to be proven and determined, at trial, an
amount, upon information and belief, exceeding the sum of sum of Five Million
Dollars ($5.0 Million), exclusive of interest and costs;

(g) Awarding Civil RICO Conspiracy Class Plaintiffs treble damages, for the loss of
property rights (i.e., royalties) to be proven and determined, at trial, but in an
amount, upon information and belief, exceeding the sum of Fifteen Million Dollars
($15.0 Million), exclusive of interest and costs;

(h) Costs and compound interest as permitted by law;

(i) Pre-judgment and Post-judgment interest;

(j) An assessment of reasonable attomey’s fee; and

(k) Any other relief, whether legal or equitable, to which Plaintiffs are entitled to under
the evidence presented to the Court.

M_Il
VIOLATION OF THE RACKETEER INFLUENCED

AND CORRUPT ORGANIZATION ACT (“RICO”[
(Against lndividual Defendant Robert M. Kane)

A. Incomoration By Reference of Factual Allegations
72. Plaintiffs restate, adopt, and incorporate by reference all allegations set forth in the

paragraphs above

19

Case 4:15-cV-OO455-TCK-.]F.] Document 2 Filed in USDC ND/OK on 08/14/15 Page 20 of 38

B. Parties for Civil RICO Claim

73. Plaintiff BARBARA LUCUS is the party plaintiff to this cause of action.

74. The Defendant named in this RICO claim is Robert M. Kane

C. Ente;prise

75. The association-in-fact “enterprise”, for this cause of action, consisted of the entities
Wild West Gas, L.L.C., an Oklahoma limited liability company, White Hawk Gas, Inc., an
Oklahoma corporation, and Purgatory Creek Gas, Inc., an Oklahoma corporation, hereinafter “Wild
West-White Hawk-Purgatory”, the Civil RICO Enterprise.

76. Defendant Robert M. Kane served, at all times material hereto, as the President of
White Hawk Gas, lnc. and Purgatory Creek Gas, Inc., both Oklahoma corporations And, Defendant
Robert M. Kane served, at all times material hereto, as the managing partner of Wild West Gas,
L.L.C., an Oklahoma limited liability company.

77. Defendant Robert M. Kane participated in the conduct of the alleged association-in-
fact enterprise, Wild West-White Hawk-Purgatory (the RICO Enterprise) engaged in, or whose
activities affect, interstate commerce

78. Defendant Robert M. Kane directly participated in the actual operation and/or
management of the unlawful affairs of the corrupt association-in-fact enterprise, WildWest-
WhiteHawk-Purgatory.

79. Defendant Robert M. Kane participated in the fraudulent scheme, as alleged herein,
and also participated in the operation and/or management of “WildWest-WhiteHawk-Purgatory"
the association-in-fact enterprise

D. Pattem of Racketeering Activig

80. Defendant Robert M. Kane (as the managing partner and principal owner/control

20

Case 4:15-cV-OO455-TCK-.]F.] Document 2 Filed in USDC ND/OK on 08/14/15 Page 21 of 38

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person of Wild West Gas, L.L.C.) committed numerous acts of mail fraud, indictable under 18
U.S.C. §1341, and wire fraud, indictable under 18 U.S.C. §1343, each of which constituted
“racketeering activity” within the meaning of 18 U.S.C. §l96l(i), and all of which collectively
constituted part of a “pattem of racketeering activity” within the meaning of 18 U.S.C. §1961(5):

(A) Mail Fraud-18 U.S.C. §1341-Defendant Robert M. Kane, did devise a scheme or
artifice, to obtain property, under false pretenses by underpaying royalties belonging
to PlaintiffBarbara Lucus through self-dealing sales to affiliated purchasers instead
of calculating the proper royalties owed to her based upon the sale of natural gas to
the ultimate end purchasers This Defendant engaging in self-dealing by selling
natural gas, through affiliated purchasers, at a reduced rate and paying the royalty
owners based on a fraudulent skimming scheme This scheme to defraud occurred
by means of false and/or fraudulent pretenses, representations in that false checks
and check stubs, not showing the proper royalties, were deposited, sent, and/or
delivered by the U.S. Postal Service to the Plaintiff Barbara Lucus.

UB) Wire Fraud-IS U.S.C. §1343-Defendant Robert M. Kane, did devise a skimming
scheme or artifice, to obtain property, under false pretenses by underpaying royalties
belonging to Plaintiff Barbara Lucus, through self-dealing sales to affiliated
purchasers instead of calculating the proper royalties owed to her based upon the true
market sale of natural gas to the ultimate end purchasers This fraudulent skimming
scheme was accomplished through the utilization of wire communications in
interstate commerce (i.e., telephone calls, mobile and/or cellular telephone calls, text
messages, facsimiles, e-mails, and/or the wire transfer of funds) that were done by
Defendant Robert M. Kane

21

Case 4:15-cV-OO455-TCK-.]F.] Document 2 Filed in USDC ND/OK on 08/14/15 Page 22 of 38

(C) As alleged herein, such false or fraudulent representations were made with the intent
to defraud Plaintiff Barbara Lucus;

(D) Plaintiff Barbara Lucus justifiably relied upon the false and fraudulent
representations set forth in the royalty checks and check stubs; and justifiably relied
upon the false and fraudulent amount of underpaid royalties set-forth in the checks
and check stubs; and was damaged as a result.

(E) Such injuries include, but are not necessarily limited to, the form of lost gas royalty
property, as a direct, proximate and foreseeable result of the scheme alleged herein

81. Upon information and belief, in violation of 18 U.S.C. §1341 and §1343, Defendant

Robert M. Kane used the U.S. Mail, a private and/or commercial interstate carrier to receive (or wire
communications) to receive payments for natural gas sold and then transmit royalty payments, all
such mailings and wire communications being incident to and an essential part of the scheme to
defraud, and/or a step in the plot to defraud Plaintiff Barbara Lucus and other victims

82. Upon information and belief, in perpetuation of the scheme to defraud Plaintiff

Barbara Lucus and other victims, Robert M. Kane, knowingly engaged or attempted to engage in
multiple monetary transactions involving criminally derived property in violation of 18 U.S.C.
§1957 by depositing payments received from purchasers of the natural gas, each in excess of
$10,000.00, in a financial institution, knowing that the payments were derived from the unlawful
activities of wire fraud and/or mail fraud, and which payments were, in fact, derived from unlawful
activities of wire fraud and mail fraud as alleged above

83. The aforementioned actions constituted a pattern of racketeering activities affecting

interstate commerce and designed to harm multiple parties, including Plaintiff Barbara Lucus, and
were effectuated by Defendant Robert M. Kane in violation of 18 U.S.C. §1962(0).

22

Case 4:15-cV-OO455-TCK-.]F.] Document 2 Filed in USDC ND/OK on 08/14/15 Page 23 of 38

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84. As a result of the RICO violations Plaintiff Barbara Lucus suffered outrage, and
severe economic damages plus attorney fees wrongfully sustained.

85. Plaintiff Barbara Lucus is a “person” injured in her property by reason of a violation
of 18 U.S.C. §1962(0) and may sue therefore in this Court and recover threefold the damages
sustained and the costs of this suit, including reasonable attomey’s fee pursuant to 18 U.S.C.
§1964(0).

86. The racketeering activity of the Defendant Robert M. Kane, and his conspirators
presents the potential to injure other potential persons or entities PlaintiffBarbara Lucus is only one
of an extensive number of victims in a continuing string of racketeering activity, a course of
conduct which threatens to injure future victims

E. Cause of Action Under 18 U.S.C. §1962(c)-Conducting the Affairs of the Enterprise

87. Plaintiffs allege that Defendant Robert M. Kane, violated 18 U.S.C. §l962(c) which
provides in pertinent part, “It shall be unlawful for any person employed by or associated with any
enterprise engaged in, or the activities of which affect, interstate . .commerce, to conduct or
participate, directly or indirectly, in the conduct of such enterprise’s affairs through a pattern of
racketeering activity.”

88. Defendant Robert M. Kane served, at all times material hereto, was employed by
and/or associated with WildWest-WhiteHawk-Purgatory” the RICO association in fact “enterprise”.

89. Defendant Robert M. Kane conducted, participated, and/or managed (directly or
indirectly), in the conduct of` such enterprise’s affairs through a pattern of racketeering activity as

alleged above

F. Cause of Action Under 18 U.S.C. §l962(dl-Consp_iracy to Violate §l962§c)

90. Plaintiffs restate, adopt, and incorporate by reference all allegations set forth in the

23

Case 4:15-cV-OO455-TCK-.]F.] Document 2 Filed in USDC ND/OK on 08/14/15 Page 24 of 38

paragraphs above

91 . Plaintiffs allege that Defendant Robert M. Kane, violated 18 U.S.C. §l962(d) which
provides in pertinent part, “It shall be unlawful for any person to conspire to violate any of the
provisions of subsection (a), (b), or (c) of this section.”

92. Defendant Robert M. Kane, conspired to violate the provision of 18 U.S.C. §l962(c)
by engaging in, and conspiring with other individuals to participate in the pattern of racketeering
activity, set-forth, in above paragraphs

G. Damages Arising from Violation of 18 U.S.C. §1962

93. By the acts and conduct of the Defendant Robert M. Kane, in violating the provisions
of 18 U.S.C. §1962, as alleged herein, inclusive, PlaintiffBarbara Lucus has suffered economic loss
in the form of lost gas royalty income, in an amount to be determined at trial, but exceeds upon
information and belief, $2,000.00 Dollars.

PRAYER AS TO CIVIL RICO-COUNT II

WHEREFORE, Plaintiff, Barbara Lucus, individually, prays for entry of a judgment in her
favor and against the Defendant, Robert M. Kane, to include the following relief:

(a) An injunction to enjoin Robert M. Kane from any hirther racketeering acts;

(b) Ordering Robert M. Kane, to divest him of any interest (direct or indirect), in any
enterprise; imposing reasonable restrictions on the future activities of Robert M. Kane, including,
but not limited to, prohibiting Robert M. Kane from engaging in the same type of endeavor as the
enterprise engaged in, the activities of which affect interstate commerce; or ordering the dissolution
or reorganization of any enterprise, making due provision for the rights of innocent persons;

(c) Awarding Plaintiffs treble damages for the loss of property rights (i.e., royalties) to
be proven and determined, at trial, but in an amount, upon information and belief, exceeding the sum
of $2,000.00, exclusive of interest and costs;

(d) Costs and compound interest as permitted by law;

(e) Pre-judgment interest;

24

Case 4:15-cV-OO455-TCK-.]F.] Document 2 Filed in USDC ND/OK on 08/14/15 Page 25 of 38

(f) An assessment of reasonable attomey’s fee; and
(g) Any other relief, whether legal or equitable to which Plaintiffs are entitled to under
the evidence presented to the Court.
_Cl)_QNM]_
VIOLATION OF THE RACKETEER INFLUENCED
AND CORRUPT ORGANIZATION ACT (“RICO”L UNDER 18 U.S.C. §1962§c1

(Against Individual Defendants Robert M. Kane, Pamela Brown, and Gary Brown)

A. Inco;poration By Reference of Factual Allegations

94. Plaintiffs restate, adopt, and incorporate by reference all allegations set forth in the
paragraphs above

B. Parties for This Civil RICO l962§c) Claim

95. Plaintiffs KEVIN L. JETER, JOE A. JETER, JAMES H. MILLER, SHARON
RIGSBY MILLER, LARRY SMITH, JANICE SUE PARKER, JAMES D. ENLOE, CAROLYN
R. ENLOE, and SCOTT BAILEY individually, and as Class Representatives on behalf of all
similarly-situated Persons (“the Civil RICO 1962(0) Class”), are the parties plaintiff to this cause
of action,

96. The Defendants named in this the Civil RICO 1962(0) Count VlI, are Robert M.
Kane, Pamela Brown, and Gary Brown.

97. Defendant Robert M. Kane is a natural person, and a citizen of the State of
Oklahoma. Mr. Robert M. Kane serves as President of Bullseye Energy, Inc., Bullseye Operating,
LLC, Gashoma, Purgatory Creek Gas, Inc., White Hawk Gas, Wild West Gas, L.L.C., and New
Cotton Valley Gas Transmission LLC. Mr. Robert M. Kane serves as Manager of Wild West Gas,

LLC.

25

Case 4:15-cV-OO455-TCK-.]F.] Document 2 Filed in USDC ND/OK on 08/14/15 Page 26 of 38

98. Defendant Pamela Brown is a natural person, and a citizen of the State ofOklahoma.
Pamela Brown is the wife of Defendant Gary Brown. Pamela Brown is upon information and belief
an employee of Wild West Gas LLC and White Hawk Gas, lnc. and performs work for Bullseye
Energy, Inc., Bullseye Operating, LLC, Gashoma, Purgatory Creek Gas, Inc., White Hawk Gas,
Wild West Gas, L.L.C., and New Cotton Valley Gas Transmission LLC.. Pamela Brown markets
the gas produced fi'om the Plaintiffs and prospective class member’s leases to the end purchasers
Pamela Brown is the Compliance officer for New Cotton Valley Gas Transmission LLC and was
formerly the Compliance Of`ficer for Cotton Valley Compression LLC.

99. Defendant Gary Brown is a natural person, and a citizen of the State of Oklahoma.
Gary Brown is the husband of Pamela Brown.

C. Enterprise

100. The association-in-fact “enterprise”, for this cause of action, consists of the entities
Wild West Gas LLC-White Hawk Gas, lnc.-Bullseye Energy, lnc.-Bullseye Operating, LLC-
Gashoma,-Purgatory Creek Gas, Inc.,-White Hawk Gas-Wild West Gas, L.L.C., -New Cotton Valley
Gas Transmission LLC (hereinafter the “Kane Criminal Enterprise” , Civil RICO Enterprise #2.

101. Defendants Robert M. Kane, Pamela Brown, and Gary Brown participated in the
conduct of the alleged association-in-fact Kane Criminal Enterprise which engaged in, or whose
activities affected, interstate commerce

102. Defendants Robert M. Kane, Pamela Brown, and Gary Brown directly participated
in the actual operation and/or management of the unlawful affairs of the Kane Criminal Enterprise

D. Pattem of Racketeering Activi§,;

103. Defendants Robert M. Kane, Pamela Brown, and Gary Brown committed numerous
acts of mail fraud, indictable under 18 U.S.C. §1341, and wire fraud, indictable under 18 U.S.C.

26

Case 4:15-cV-OO455-TCK-.]F.] Document 2 Filed in USDC ND/OK on 08/14/15 Page 27 of 38

§1343, each of which constituted “racketeering activity” within the meaning of 18 U.S.C. §l961(i),
and all of which collectively constituted part of a “pattern of racketeering activity” within the
meaning of18 U.S.C. §1961(5):

(A) Mail Fraud-18 U.S.C. §1341-Defendants Robert M. Kane, Pamela Brown, and Gary
Brown, did devise a scheme or artifice, to obtain property, by taking and/or
authorizing the taking of numerous unauthorized and unlawful deductions from
royalties properly and lawfully belonging to Plaintiffs and the (Civil RICO l962(c)
Class), under certain leases This scheme to defraud occurred by means of false
and/or fraudulent pretenses representations or promises in that false check stubs
(showing zero or no deductions were taken from the proceeds of the sale of the
natural gas) were deposited, sent, and/or delivered by the U.S. Postal Service to the
Plaintiffs (and the Civil RICO l962(c) Class), on a monthly basis since 2000.

(B) Wire Fraud-IS U.S.C. §1343-Defendants Robert M. Kane, Pamela Brown, and
Gary Brown , did devise a scheme or artifice, to obtain property, by taking and/or
authorizing the taking of numerous unauthorized and unlawful deductions from the
royalties properly and lawfully belonging to Plaintiffs (and the Civil RICO l962(c)
Class), under certain leases This scheme to defraud occurred by means of false
and/or fraudulent pretenses representations or promises in that false check stubs
and other documentation, (showing zero or no deductions were taken from the
proceeds of the sale of the natural gas) were caused to be transmitted by means of
wire communication in interstate or foreign commerce, upon information and belief,
on occasion, to the Plaintiffs (and the Civil RICO l962(c) Class), on a monthly basis
since 2000.

27

Case 4:15-cV-OO455-TCK-.]F.] Document 2 Filed in USDC ND/OK on 08/14/15 Page 28 of 38

(C) As alleged herein, such false or fraudulent representations were made with the intent
to defraud Plaintiffs KEVIN L. JETER, JOE A. JETER, JAMES H. M]]_.LER,
SHARON RIGSBY MILLER, LARRY SMITH, JANICE SUE PARKER, JAMES
D. ENLOE, CAROLYN R. ENLOE, and SCOTT BAILEY (and the Civil RICO
l962(c) Class);
(D) Plaintiffs KEVIN L. JETER, JOE A. JETER, JAMES H. MILLER, SHARON
RIGSBY MILLER, LARRY SMITH, JANlCE SUE PARKER, JAMES D. ENLOE,
CAROLYN R. ENLOE, and SCOTT BAILEY (and the Civil RICO l962(c) Class)
justifiably relied upon the false or fraudulent representations and promises and Were
damaged as a result.
(E) Such injuries include, but are not necessarily limited to, the form of lost gas royalty
property, as a direct, proximate, and foreseeable result of the scheme alleged herein.
104. Upon information and belief, in violation of 18 U.S.C. §1341 and §1343, Defendants
Robert M. Kane, Pamela Brown, and Gary Brown used the U.S. Mail, a private and/or commercial
interstate carrier to receive (or wire communications) to receive payments for natural gas sold and
then transmit royalty payments all such mailings and wire communications being incident to and
an essential part of the scheme to defraud, and/or a step in the plot to defraud Plaintiffs and other
victims
105. Upon information and belief, in perpetuation of the scheme to defraud Plaintiffs and
other victims Robert M. Kane, Pamela Brown, and Gary Brown , knowingly engaged or attempted
to engage in multiple monetary transactions involving criminally derived property in violation of
18 U.S.C. § 1957 by depositing payments received from purchasers of the natural gas each in excess
of $10,000.00, in a financial institution, knowing that the payments were derived from the unlawful

28

Case 4:15-cV-OO455-TCK-.]F.] Document 2 Filed in USDC ND/OK on 08/14/15 Page 29 of 38

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activities of wire fraud and/or mail fraud, and which payments were, in fact, derived from unlawful
activities of wire fraud and mail fraud as alleged above

106. The aforementioned actions constituted a pattern of racketeering activities aHecting
interstate commerce and designed to harm multiple parties including Plaintiffs and were
effectuated by Defendants Robert M. Kane, Pamela Brown, and Gary Brown in violation of 18
U.S.C. §l962(c).

107. As a result of the RICO violations Plaintiffs suffered outrage, and severe economic
damages plus attorney fees wrongfully sustained.

108. Plaintiffs are “persons” injured in their property by reason of a violation of 18 U.S.C.
§1962 and may sue therefore in this Court and recover threefold the damages sustained and the costs
of this suit, including reasonable attomey’s fee pursuant to 18 U.S.C. §l964(c).

109. The racketeering activity of the Defendants Robert M. Kane, Pamela Brown, and
Gary Brown , presents the potential to injure other potential persons or entities Plaintiffs are only
several, of hundreds of victims in a continuing string of racketeering activity, a course of conduct
which threatens to injure future victims

E. Cause of Action Under 18 U.S.C. §l962(cl-Conducting the Affairs of the Enterprise

110. Plaintiffs allege that Defendants Robert M. Kane, Pamela Brown, and Gary Brown,
violated 18 U.S.C. §1962(c) which provides in pertinent part, “lt shall be unlawful for any person
employed by or associated with any enterprise engaged in, or the activities of which affect,
interstate . .commerce, to conduct or participate directly or indirectly, in the conduct of such
enterprise’s affairs through a pattern of racketeering activity.”

lll. Defendants Robert M. Kane, Pamela Brown, and Gary Brown served, at all times

material hereto, was employed by and/or associated with the Kane Criminal Enterprise

29

Case 4:15-cV-00455-TCK-.]F.] Document 2 Filed in USDC ND/OK on 08/14/15 Page 30 of 38

112. Defendants Robert M. Kane, Pamela Brown, and Gary Brown conducted,
participated, and/or managed (directly or indirectly), in the conduct of such enterprise’s affairs

through a pattern of racketeering activity as alleged above

F. Civil RICO l962(cl Class Action Allegations

113. Plaintiffs bring this action pursuant to F ederal Rule of Civil Procedure Rule 23, on

behalf of the following class:

All non-excluded persons and entities who, as of the date of filing of this Complaint,
are or were royalty owners in producing gas wells located in the Northern District
of Oklahoma where one or more of the Defendants is or was a lessee and/or operator
and/or working-interest owner under the Leases and/or where the Defendants
control or controlled the operators working-interest owners and/or lessees under the
Leases The Class does not include overriding royalty owners or other owners who
derive their interest through the oil and gas lessee The Class does not include any
wells located on federal, state, county, municipal, military, or Indian lands in which
one or more Defendants own any interests The persons or entities excluded fi'om the
Class are persons or entities who are not citizens of any State on the date of filing
this Complaint, persons or entities who have settled or released their royalty-related
claims with any of the Defendants as of the date of filing of this Complaint, any
Indian Tribe or Nation, federal, state and local governments including agencies
departments or instrumentalities of the United States of America and State of
Oklahoma (including public trusts counties and municipalities), publicly traded oil
and gas exploration companies and their affiliates and persons or entities that
Plaintiffs’ counsel are prohibited from representing under the Oklahoma Rules of
Professional Conduct. Other persons or entities excluded from the Class are persons
or entities who have entered into Leases with any of the Defendants which contain
specialized contractual provisions allowing Defendants to subtract expenses/costs
from royalties2

114. The Class is so numerous that joinder of all members is impracticable
115. The Class action is superior to all other available methods for the fair and efficient
adjudication of this controversy.

116. Plaintiffs claims are typical of the claims of the Class. As alleged herein, Plaintiffs

 

Additionally, sub-classes may be proposed, particularly, for class members who have leases
allowing for deduction of costs and have been overcharged for these costs

30

Case 4:15-cV-00455-TCK-.]F.] Document 2 Filed in USDC ND/OK on 08/14/15 Page 31 of 38

and members of the Class all sustained damages arising out of the common course of unlawful
conduct

117. There are questions of law and fact common to the Class including but not limited
to:

-Whether the Kane Criminal Enterprise engaged in a common scheme, plan and course of
conduct to underpay the royalties belonging to Plaintiffs and the Class by calculating the royalties
through self-dealing sales to affiliated purchasers instead of calculating the proper royalties owed
to Plaintiffs and the Class based upon the sale of natural gas to the ultimate end purchasers?

-Whether the Kane Criminal Enterprise engaged in a common scheme, plan, and course,
Whereby deductions taken and continuing to be taken include certain deductions and expenses
which were and are prohibited by certain Leases and Oklahoma law?

~Whether the Kane Criminal Enterprise Plaintiffs engaged in a common scheme, plan and
course of conduct, since the year 2000, and continue to the present to deprive Plaintiffs and the Class

of full royalties arising from the true market sale of the Production?

-Whether the Kane Criminal Enterprise engaged in a common scheme, plan and course of
to inflate gas gathering and transportation costs?

118. This Civil RICO Class Action count is warranted under Rule 23(b)(2) because
Defendants have acted on grounds generally applicable to the Class thereby making appropriate final
injunctive relief with respect to the Class as a whole.

119. Class action status is also warranted under Rule 23(b)(3) because questions of law
or fact common to the members of the Class predominate over any questions affecting only
individual members and a class action is superior to other available methods for the fair and

efficient adjudication of this controversy.

F. Civil RICO Damages Arising from Violation of 18 U.S.C. §l962(c1

120. By the acts and conduct of the Defendants Robert M. Kane, Pamela Brown, and Gary
Brown in violating the provisions of 18 U.S.C. §l962(c), as alleged herein, inclusive, Plaintiffs

individually, have collectively suffered economic loss in the form of lost gas royalty property, in an

31

Case 4:15-cv-00455-TCK-.]F.] Document 2 Filed in USDC ND/OK on 08/14/15 Page 32 of 38

amount to be determined at trial, but exceeds upon information and belief, $63,000.00 Dollars.

12 l . Compensatory damages against the Defendants Robert M. Kane, Pamela Brown, and
Gary Brown, for the underpayment of royalties to the Civil RlCO Class members in an amount, to
be determined, at trial, but upon information and belief, exceeding the sum of Five Million Dollars
($5,000,000), exclusive of interest and costs

PRAYER AS TO CIVIL RICO l962(c)-COUNT III
WHEREFORE, Plaintiffs KEVIN L. JETER, JOE A. JETER, JAMES H. MILLER,

SHARON RIGSBY MILLER, LARRY SMITH, JANICE SUE PARKER, JAMES D. ENLOE,
CAROLYN R. ENLOE, and SCOTT BAlLEY individually, and as Class Representatives on behalf
of all similarly-situated Persons (“the Class”) pray for entry of a judgment in their favor and against
the Defendants Robert M. Kane Robert M. Kane, Pamela Brown, and Gary Brown, to include the

following relief:

(a) Certification of Count llI, as a class action, pursuant to Fed.R.Civ.P. 23(b)(2) and/or
23(b)(3), and appointment of suitable Plaintiff(s) as Class Representatives and Plaintiffs’ counsel
as Class Counsel. A separate motion seeking such certification and appointment will be filed by
Plaintiffs’ counsel, after Class discovery and in accordance with the court’s scheduling order;

(b) An injunction to enjoin Robert M. Kane, Pamela Brown, and Gary Brown from any
further racketeering acts;

(c) Ordering Robert M. Kane, Pamela Brown, and Gary Brown, to divest him of any
interest (direct or indirect), in any enterprise; imposing reasonable restrictions on the future activities
of Robert M. Kane, Pamela Brown, and Gary Brown, including, but not limited to, prohibiting
Robert M. Kane, Pamela Brown, and Gary Brown from engaging in the same type of endeavor as
the enterprise engaged in, the activities of which affect interstate commerce; or ordering the
dissolution or reorganization of any enterprise making due provision for the rights of innocent
persons;

(d) Awarding Plaintiffs Kevin L. Jeter, Joe A. Jeter, James H. Miller, Sharon Rigsby
Miller, Larry Smith, Janice Sue Parker, James D. Enloe, Carolyn R. Enloe, and Scott Bailey
collectively, economic loss in the form of lost gas royalty property rights (i.e., royalties), to be
proven and determined at trial, an amount, upon information and belief, exceeding the sum of,

$66,000.00 Dollars;

32

Case 4:15-cV-00455-TCK-.]F.] Document 2 Filed in USDC ND/OK on 08/14/15 Page 33 of 38

(e) Awarding Plaintiffs Kevin L. Jeter, Joe A. Jeter, James H. Miller, Sharon Rigsby
Miller, Larry Smith, and Janice Sue Parker, James D. Enloe, Carolyn R. Enloe, and Scott Baily,
collectively, treble damages for the loss of property rights (i.e., royalties) to be proven and
determined, at trial, an amount, upon information and belief, exceeding the sum of 8198,000.00,

exclusive of interest and costs;

(f) Awarding Civil RICO Conspiracy Class Plaintiffs, individually, economic loss in the
form of property rights (i.e., royalties), to be proven and determined, at trial, an amount, upon
information and belief, exceeding the sum of sum of F ive Million Dollars ($5.0 Million), exclusive
of interest and costs;

(g) Awarding Civil RICO Conspiracy Class Plaintiffs treble damages for the loss of
property rights (i.e., royalties) to be proven and determined, at trial, but in an amount, upon

information and belief, exceeding the sum of Fifteen Million Dollars ($l$.O Million), exclusive of
interest and costs;

(h) Costs and compound interest as permitted by law;
(i) Pre-judgment and Post-judgment interest;
(j) An assessment of reasonable attomey’s fee; and

(k) Any other relief, whether legal or equitable, to which Plaintiffs and Civil RICO
Conspiracy Class Plaintiffs are entitled to under the evidence presented to the Court.

MH
CONSPIRACY TO VIOLATE THE RACKETEER INFLUENCED
AND CORRUPT ORGANIZATION ACT (“RICO”) UNDER 18 U.S.C. §1962(d)

(Against lndividual Defendants Louise Kane Roark, Ann Kane Seidman, Mark Kane
and CEP Mid-Continent LLC)

A. Incorporation By Reference of Factual Allegations

122. Plaintiffs restate, adopt, and incorporate by reference all allegations set forth in the
paragraphs above

B. Parties for This Civil RICO 1962(d) Claim

123. Plaintiffs KEV[N L. JETER, JOE A. JETER, JAMES H. MILLER, SHARON
RIGSBY MILLER, LARRY SMITH, JANICE SUE PARKER, JAMES D. ENLOE, CAROLYN
R. ENLOE and SCOTT BAILEY individually, and as Class Representatives on behalf of all

33

Case 4:15-cV-00455-TCK-.]F.] Document 2 Filed in USDC ND/OK on 08/14/15 Page 34 of 38

8

similarly-situated Persons (“the Class”), are the parties plaintiff to this cause of action.

124. Defendants named in this RICO , Count IV, are Louise Kane Roark, Ann Kane
Seidman, Mark Kane and CEP Mid-Continent LLC.

125. Defendant CEP Mid-Continent LLC., is and at all pertinent times was a Delaware
limited liability company organized and existing under the laws of the State of Delaware CEP Mid-
Continent LLC. was formerly known as CEP Cherokee Basin.

126. Defendant Louise Rourke is a natural person, and a citizen of the State ofOklahoma.
Louise Rourke owns a twenty-five percent interest in KRS&K which owns a fifty percent interest
in Bullseye Energy, Inc., Bullseye Operating, LLC, Gashoma, Purgatory Creek Gas, lnc., White
Hawk Gas, Wild West Gas L.L.C., and New Cotton Valley Gas Transmission LLC..

127. Defendant Ann Siedman is a natural person, and a citizen of the State of
Pennsylvania. Ann Siedman owns a twenty-five percent interest in KRS&K which owns a fifty
percent interest in Bullseye Energy, Inc., Bullseye Operating, LLC, Gashoma, Purgatory Creek Gas,
Inc., White Hawk Gas, Wild West Gas, L.L.C., and New Cotton Valley Gas Transmission LLC.

128. Defendant Mark Kane is a natural person, and a citizen of the State of Oklahoma.
Mark Kane owns a twenty-five percent interest in KRS&K which owns a fifty percent interest in
Bullseye Energy, Inc., Bullseye Operating, LLC, Gashoma, Purgatory Creek Gas, Inc., White Hawk
Gas, Wild West Gas, L.L.C., and New Cotton Valley Gas Transmission LLC.

129. 18 U.S.C. § l962(d), provides that it “shall be unlawful for any person to conspire
to violate any of the provisions of subsection (a), (b), or (c) of this section.”

130. Defendants Louise Kane Roark, Ann Kane Seidman, Mark Kane and CEP Mid-
Continent LLC violated 18 U.S.C. § l962(d) by conspiring to violate 18 U.S.C. §1962(c).

131. Defendants Louise Kane Roark, Ann Kane Seidman, Mark Kane and CEP Mid-

34

Case 4:15-cV-00455-TCK-.]F.] Document 2 Filed in USDC ND/OK on 08/14/15 Page 35 of 38

9

Continent LLC were “persons” within the meaning of RICO, 18 U.S.C. §§ 1961(3) and l962(d).

132. Defendants Louise Kane Roark, Ann Kane Seidman, Mark Kane and CEP Mid-
Continent LLC conspired with Robert M. Kane, Pamela Brown, and/or Gary Brown, for the
common purpose to (l) underpay the royalties belonging to Plaintiffs and the Class by calculating
the royalties through self-dealing sales to affiliated purchasers instead of calculating the proper
royalties owed to Plaintiffs and the Class based upon the sale of natural gas to the ultimate end
purchasers (2) to engaged in a common scheme, plan, and course, whereby deductions taken and
continuing to be taken include certain deductions and expenses which were and are prohibited by
certain Leases and Oklahoma law; and (3) to engaged in a common scheme, plan and course of
conduct, since the year 2000 (and continue to the present) to deprive Plaintiffs and the Class of full
royalties arising from the true market sale of the Production.

133. T he Kane Criminal Enterprise was engaged in, and its activities affected interstate
commerce within the meaning of 18 U.S.C. § l962(c),

l 134. As set forth above, Defendants Louise Kane Roark, Ann Kane Seidman, Mark Kane
and CEP Mid-Continent LLC conducted or participated, directly or indirectly, in the conduct of the
Kane Criminal Enterprise affairs through a pattern of racketeering activity within the meaning of
18 U.S.C. § 1961(5) in violation of 18 U.S.C. § l962(c).

135. Defendants Louise Kane Roark, Ann Kane Seidman, Mark Kane and CEP Mid-
Continent LLC were each associated with the Kane Criminal Enterprise and agreed and conspired
to violate 18 U.S.C. § l962(c), and agreed to conduct and participate directly or indirectly, in the
conduct of the affairs of the Kane Criminal Enterprise through a pattern of racketeering activity in
violation of 18 U.S.C. § l962(d).

136. Defendants committed and caused to be committed a series of overt acts in

35

Case 4:15-cV-00455-TCK-.]F.] Document 2 Filed in USDC ND/OK on 08/14/15 Page 36 of 38

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furtherance of the conspiracy and to accomplish the objects thereof, including but not limited to the
acts set forth in the paragraphs above

137. As a direct and proximate result of the overt acts and predicate acts of in furtherance
of violating 18 U.S.C. §l962(d) by conspiring to violate 18 U.S.C. § l962(c), Plaintiffs
individually, have been and are continuing to be injured in their business and property in an amount
to be determined at trial, but exceeds upon information and belief, $66,000.00. Such injuries
include, but are not necessarily limited to, the form of lost gas royalty property, as a direct,
proximate, and foreseeable result of the scheme alleged herein.

138. Compensatory damages against the Defendants Louise Kane Roark, Ann Kane
Seidman, Mark Kane and CEP Mid-Continent LLC, for the underpayment of royalties to the Civil
RICO Class Conspiracy members in an amount, to be determined, at trial, but upon information and
belief, exceeding the sum of Five Million Dollars ($5,000,000), exclusive of interest and costs Such
injuries include, but are not necessarily limited to, the form of lost gas royalty property, as a direct,
proximate, and foreseeable result of the scheme alleged herein.

139. Under the provisions of 18 U.S.C. § 1964(0), Defendants Defendants Louise Kane
Roark, Ann Kane Seidman, Mark Kane and CEP Mid-Continent LLC are jointly and severally liable
to Plaintiffs individually, and the Class for three times the damages sustained, plus the costs of
bringing this suit, including reasonable attomeys’ fees

PRAYER AS TO CIVIL RICO 1962(d)-COUNT IV

WHEREFORE, Plaintiffs KEVIN L. JETER, JOE A. JETER, JAMES H. MILLER,
SHARON RIGSBY MILLER, LARRY SMITH, JANICE SUE PARKER, JAMES D. ENLOE,
CAROLYN R. ENLOE, and SCOTT BAILEY individually, and as Class Representatives on behalf
of all similarly-situated Persons (“the Class”) pray for entry of a judgment in their favor and against

36

Case 4:15-cV-00455-TCK-.]F.] Document 2 Filed in USDC ND/OK on 08/14/15 Page 37 of 38

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the Defendants Louise Kane Roark, Ann Kane Seidman, Mark Kane and CEP Mid-Continent LLC,
to include the following relief:

(a) Certification of Count IV, as a class action, pursuant to Fed.R.Civ.P. 23(b)(2) and/or
23(b)(3), and appointment of suitable Plaintiff(s) as Class Representatives and Plaintiffs’ counsel
as Class Counsel. A separate motion seeking such certification and appointment will be filed by
Plaintiffs’ counsel, after Class discovery and in accordance with the court’s scheduling order;

(b) An injunction to enjoin Louise Kane Roark, Ann Kane Seidman, Mark Kane and CEP
Mid-Continent LLC from any further conspiratorial racketeering acts;

(c) Awarding Plaintiffs Kevin L. Jeter, Joe A. Jeter, James H. Miller, Sharon Rigsby
Miller, Larry Smith, Janice Sue Parker, James D. Enloe, Carolyn R. Enloe, and Scott Bailey
collectively, economic loss in the form of lost gas royalty property rights (i.e., royalties), to be
proven and determined at trial, an amount, upon information and belief, exceeding the sum of,
$66,000.00 Dollars;

(d) Awarding Plaintiffs Kevin L. Jeter, Joe A. Jeter, James H. Miller, Sharon Rigsby
Miller, Larry Smith, and Janice Sue Parker, James D. Enloe and Carolyn R. Enloe collectively,
treble damages for the loss of property rights (i.e., royalties) to be proven and determined, at trial,
an amount, upon information and belief, exceeding the sum of $198,000.00, exclusive of interest
and costs;

(e) Awarding Civil RICO Conspiracy Class Plaintiffs individual ly, economic loss in the
form of property rights (i.e., royalties), to be proven and determined, at trial, an amount, upon

information and belief, exceeding the sum of sum ofFive Million Dollars ($5.0 Million), exclusive
of interest and costs;

(f) Awarding Civil RICO Conspiracy Class Plaintiffs treble damages for the loss of
property rights (i.e., royalties) to be proven and determined, at trial, but in an amount, upon
information and belief, exceeding the sum of Fifteen Million Dollars ($15.0 Million), exclusive of
interest and costs;

(g) Costs and compound interest as permitted by law;

(h) Pre-judgment and Post-judgment interest;

(i) An assessment of reasonable attomey’s fee; and

(j) Any other relief, whether legal or equitable to which Plaintiffs and Civil RICO
Conspiracy Class Plaintiffs are entitled to under the evidence presented to the Court.

37

Case 4:15-cV-00455-TCK-.]F.] Document 2 Filed in USDC ND/OK on 08/14/15 Page 38 of 38

1259

Respectfully submitted,

s/Robert Burton

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REPRESENTATIVES ON BEHALF OF ALL
SIlVIlLARLY-SITUATED PERSONS

38

